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                     Exhibit E
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                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF TEXAS
                                 FORT WORTH DIVISION



 X CORP.,

 Plaintiff,

         v.                                         Civil Action No. 4:23-cv-01175-O

 MEDIA MATTERS FOR AMERICA,
 et al.,

         Defendants.




DEFENDANTS MEDIA MATTERS FOR AMERICA, ERIC HANANOKI, AND ANGELO
            CARUSONE’S FIRST SET OF INTERROGATORIES

        Pursuant to Federal Rules of Civil Procedure 26 and 33, Defendants Media Matters for

America (“Media Matters”), Mr. Eric Hananoki, and Mr. Angelo Carusone through their

undersigned counsel, serve their First Set of Interrogatories on Plaintiff X Corp. Responses to these

Interrogatories are to be produced to counsel for all Defendants within 30 days of receipt, and

should be sent to the attention of Andrew LeGrand at Gibson, Dunn & Crutcher. Each Interrogatory

is subject to the Definitions and Instructions listed below.

                                          DEFINITIONS

        Except as specifically defined below, the terms used in this request shall be construed and

defined in accordance with the Federal Rules of Civil Procedure and the Local Rules of the U.S.

District Court for the Northern District of Texas, wherever applicable. Any terms not defined shall

be given their ordinary meaning.




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       Defendants reserve their right to alter, supplement, amend, correct, clarify, or otherwise

modify these Interrogatories as discovery remains ongoing.

 1.    “Advertisers” means companies, organizations, individuals, or entities that pay to advertise

       or promote products, goods, services, ideas, positions, or concepts, by purchasing space—

       including but not limited to advertisers referenced in Plaintiff’s First Amended Complaint,

       ECF No. 37: Apple, Bravo, IBM, Oracle, Xfinity, Lions Gate Entertainment, Disney,

       Warner Brothers Discovery, Paramount Global, NBCUniversal, Comcast, Sony, Ubisoft,

       Amazon, eBay, Major League Baseball, New York Times Co., Samsung, Sports Illustrated,

       The Wall Street Journal, USA Today, Office Depot, Nokia, Dish, Bayer, Tyson Foods,

       Honeywell, Discovery, FanDuel, Thermo Fisher, National Women’s Soccer League, the

       Pittsburgh Steelers, the Atlanta Falcons, Manchester City, DraftKings, FanDuel, T-Mobile,

       and The Athletic.

 2.    “Any” or “all” mean “any and all.”

 3.    “Communication” is synonymous in meaning and scope with the term “communication”

       as used in Local Rule 26, and includes any transfer of information of any type, whether

       written, oral, electronic, or otherwise, and includes but is not limited to transfers of

       information via email, report, phone call, letter, text message, Slack, Signal, direct

       messages on social media platforms, ephemeral messaging applications, instant messaging

       applications, voicemail message, voice message, written memorandum, note, summary,

       and other means.

 4.    “Date” means the exact day, month, and year, if ascertainable, or, if not, the best available

       approximation (including relationship to other events).




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 5.   “Document” is synonymous in meaning and scope to the term “document” as used in

      Federal Rule of Civil Procedure 34 and Local Rule 26 and includes, but is not limited to,

      records, reports, lists, data, statistics, summaries, analyses, communications (as defined

      above), computer discs, tapes, printouts, emails, databases, and any handwritten,

      typewritten, printed, electronically recorded, taped, graphic, machine-readable, or other

      material, of whatever nature and in whatever form, including all non-identical copies and

      drafts thereof, and all copies bearing any notation or mark not found on the original.

 6.   “Identify” means to indicate or establish what something or someone is.

 7.   “Including” means “including, but not limited to.”

 8.   “Mr. Carusone’s November 26, 2023, interview statements” refers to the statements made

      by Mr. Angelo Carusone during an interview on MSNBC on November 26, 2023, available

      at https://www.mediamatters.org/angelo-carusone/angelo-carusone-discusses-elon-musk-

      and-x-msnbc-no-matter-how-you-slice-it-fact, referenced in paragraph 13 of the Amended

      Complaint.

 9.   The “November 16, 2023 Article” refers to the article written by Mr. Hananoki and

      originally published on November 16, 2023, titled “As Musk endorses antisemitic

      conspiracy theory, X has been placing ads for Apple, Bravo, IBM, Oracle, and Xfinity next

      to pro-Nazi content.”

10.   The “November 17, 2023 Article” refers to the article written by Mr. Hananoki and

      originally published on November 17, 2023, titled “X is placing ads for Amazon, NBA

      Mexico, NBCUniversal, and others next to content with white nationalist hashtags.”

11.   “Platform” means the social media website operated by X.




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12.   “X” or “Plaintiff” means the Plaintiff in this Matter, X Corp., as well as its predecessor in

      interest, Twitter, Inc., including both entities’ owners, officers, directors, partners,

      members, managers, employees, representatives, staff, agents, consultants, and anyone

      acting on their behalf.

13.   “You” and “your” means the Plaintiff in this Matter, X Corp., as well as its predecessor in

      interest, Twitter, Inc., including both entities’ owners, officers, directors, partners,

      members, managers, employees, representatives, staff, agents, consultants, and anyone

      acting on their behalf.

                                      INSTRUCTIONS

 1.   Except as specifically defined below, the terms used in these Interrogatories shall be

      construed and defined in accordance with the Federal Rules of Civil Procedure. You must

      return your responses within thirty (30) days to Defendants’ counsel. If you object to any

      interrogatory in full or in part, you must note the objection with specificity. If you object

      to any part of an interrogatory, you must specify the part to which you object, set forth the

      basis of your objection and respond to all parts of the interrogatory to which you do not

      object. Any ground not stated in a timely objection is waived.

 2.   Where you, in good faith, doubt the meaning or intended scope of an interrogatory, before

      objecting to the interrogatory based on its vagueness, overbreadth, or ambiguity, contact

      Defendants’ counsel in advance of asserting an objection. Defendants’ counsel will provide

      whatever additional clarification or explanation may be needed. If you still believe the

      interrogatory to be vague, overbroad, or ambiguous, set forth in your response what you

      find to be vague, overbroad, or ambiguous and the construction you used in responding.

 3.   In accordance with the Federal Rules of Civil Procedure, the scope of discovery sought

      through these interrogatories extends to all relevant and non-privileged information that
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     might reasonably lead to the discovery of admissible evidence. In answering these

     interrogatories, you must furnish all such information available to you, including

     information in the possession of all representatives, agents, and any other persons acting

     on your behalf, and not merely such information known of your own personal knowledge.

     If you cannot answer these interrogatories in full after exercising due diligence to secure

     the information requested, you should so state and answer to the extent possible, specifying

     the nature of your inability to answer the remainder and providing whatever information

     or knowledge that you possess concerning the unanswered portion.

4.   Each interrogatory shall be answered separately, fully, and responsively following the

     interrogatory.

5.   The interrogatories that follow are to be considered as continuing, and you have a duty to

     provide, by way of supplementary answers, such additional information as you or any

     persons acting on your behalf may hereafter obtain that will augment, clarify, correct, or

     otherwise modify the answers now given. Such supplementary answers are to be promptly

     served upon Defendants’ counsel after receipt of such information, but in any event, no

     later than 14 days after receipt.

6.   If in any interrogatory a number is requested and if the exact number is not known, for each

     such interrogatory, provide an estimate, an explanation as to your confidence in that

     estimate, and an explanation as to how that estimate was reached.

7.   If you do not know the answer to any interrogatory, or if there are limitations to your

     knowledge about the answer to any interrogatory, provide whatever answer you can

     including the limitations to your knowledge. If there are other people or entities that you

     believe may know the answer to any interrogatory or may be able to provide additional



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       information in response to any interrogatory, identify those people or entities in your

       response.

 8.    If any objection is raised to these interrogatories on the basis of an assertion of privilege,

       you shall provide both a description of the basis of the privilege and all information

       necessary for Defendants to assess the claim of privilege.

 9.    No part of an interrogatory should be left unanswered merely because an objection is

       interposed to another part of the interrogatory. If a partial or incomplete answer is provided,

       state that the answer is partial or incomplete.

10.    Where an interrogatory relates to more than one person or subject, it is to be answered as

       to each such person or subject separately.

11.    The singular form of a noun or pronoun includes the plural form, and the plural form

       includes the singular.

12.    The connectives “and” and “or” shall be construed either disjunctively or conjunctively as

       necessary to bring within the scope of an interrogatory all responses that otherwise might

       be construed to be outside its scope.

13.    A reference to an entity, organization, or agency in this request shall be construed to include

       its officers, directors, partners, members, managers, employees, representatives, agents,

       consultants, and anyone acting on its behalf.

14.    A reference to a person in this request shall be construed to include that person’s employees,

       representatives, consultants, and anyone acting on their behalf.

                                     INTERROGATORIES

INTERROGATORY NO. 1: Identify all advertisers that you contend breached or attempted to

breach a contract with X as a result of the November 16, 2023 Article, the November 17, 2023

Article, and/or Mr. Carusone’s November 26, 2023 interview statements.
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INTERROGATORY NO. 2: For any advertisers you identify in response to Interrogatory 1,

identify and describe the contract term, any suspension or termination provisions, and any terms

or other grounds for concluding that X had a legal right to future performance from each of those

advertisers.

INTERROGATORY NO. 3: For any advertisers you identify in response to Interrogatory 1,

describe the basis for your belief that Defendants’ speech or conduct caused each such advertiser

to breach or attempt to breach a contract with X, identifying any and all evidence of which you are

aware that supports that belief.

INTERROGATORY NO. 4: Identify all advertisers that you contend have discontinued or

attempted to discontinue their relationships with X as a result of the November 16, 2023 Article,

the November 17, 2023 Article, and/or Mr. Carusone’s November 26, 2023 interview statements.

INTERROGATORY NO. 5: For any advertisers you identify in response to Interrogatory 4,

describe the basis for your belief that Defendants’ speech or conduct caused each such advertiser

to discontinue or attempt to discontinue their relationships with X, identifying any and all evidence

of which you are aware that supports that belief.

INTERROGATORY NO. 6: Identify all accounts on the X platform, including any

corresponding usernames or handles, which Elon Musk currently controls, accesses, or uses, or

has controlled, accessed, or used in the past, to engage in any activity, including posting,

commenting, messaging, or following or viewing accounts, on the X platform since April 14, 2022.



Dated May 6, 2024.

/s/ Andrew LeGrand




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